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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


R.T.G. FURNITURE CORP.,

        Plaintiff,

v.                                              CASE NO.:

HALLMARK SPECIALTY
INSURANCE COMPANY, CRUM &
FORSTER SPECIALTY INSURANCE
COMPANY, EVEREST INDEMNITY
INSURANCE COMPANY,
IRONSHORE SPECIALTY
INSURANCE COMPANY, HDI
GLOBAL SPECIALTY SE,
UNDERWRITERS AT LLOYD’S,
LONDON SUBSCRIBING TO
POLICY NO. LMPRP20928555,
PARTNERRE IRELAND INSURANCE
DAC, STARR SURPLUS LINES
INSURANCE COMPANY,
EVANSTON INSURANCE
COMPANY, ASPEN SPECIALTY
INSURANCE COMPANY,
LANDMARK AMERICAN
INSURANCE COMPANY, MAXUM
INDEMNITY COMPANY, AND
HOMELAND INSURANCE
COMPANY OF NEW YORK,

        Defendants.
                                    /

             PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff R.T.G. Furniture Corp. brings this action against Defendants, Hallmark

     Specialty Insurance Company, Crum & Forster Specialty Insurance Company, Everest

     Indemnity Insurance Company, Ironshore Specialty Insurance Company, HDI Global
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 Specialty SE, Underwriters at Lloyd’s, London Subscribing to Policy No.

 LMPRP20928555, PartnerRe Ireland Insurance dac, Starr Surplus Lines Insurance

 Company, Evanston Insurance Company, Aspen Specialty Insurance Company, Landmark

 American Insurance Company, Maxum Indemnity Company, and Homeland Insurance

 Company of New York (collectively, the “Defendants” or “Insurers”).

                               NATURE OF THE ACTION

         1.      This is a breach of contract and declaratory judgment action that arises out

 of the Insurers’ refusal to honor business interruption coverage provided by their insurance

 policies issued to R.T.G. Furniture Corp.

         2.      R.T.G. Furniture Corp. is a furniture retailer that, together with its

 additionally insured affiliates (“Rooms To Go”), operates over 150 stores in Alabama,

 Florida, Georgia, Louisiana, Mississippi, North Carolina, South Carolina, Tennessee,

 Texas, and Virginia.

         3.      Beginning in March 2020, Rooms To Go was forced to close many of its

 stores because of coronavirus, COVID-19, and various related government closure orders.

 The monetary loss associated with these closures was substantial.

         4.      Rooms To Go incurred unavoidable losses while its stores were closed or

 significantly restricted.

         5.      Rooms To Go purchased insurance from numerous carriers to ensure that

 monetary relief was available if the company suffered business interruption caused by an

 unavoidable event such as the spread of coronavirus and COVID-19.




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        6.      The Insurers sold insurance policies to Rooms To Go in which they agreed

 to cover all risks of direct physical loss of or damage to property, including the loss of

 business income and associated extra expense. Yet now that Rooms To Go has submitted

 a claim falling within that coverage, the Insurers have refused to honor their contractual

 obligations by refusing to make any payment under their policies.

                                           PARTIES

        7.      Plaintiff, R.T.G. Furniture Corp., is a Florida corporation with its principal

 place of business at 11540 E. U.S. Highway 92, Seffner, Florida, 33584. R.T.G. Furniture

 Corp. is the named insured under the insurance policies issued by the Defendants covering

 Rooms To Go.

        8.      Defendant, Hallmark Specialty Insurance Company (“Hallmark”), is an

 Oklahoma corporation with its principal place of business in Dallas, Texas. Hallmark is

 authorized to sell insurance in the state of Florida and, on information and belief, is actively

 engaged in the business of selling insurance both in Hillsborough County and throughout

 the state of Florida. Hallmark issued the subject insurance policy to Rooms To Go at

 Rooms To Go’s principal address in Seffner, Florida.

        9.      Defendant, Crum & Forster Specialty Insurance Company (“Crum &

 Forster”), is a Delaware corporation with its principal place of business in Morristown,

 New Jersey. Crum & Forster is authorized to sell insurance in the state of Florida and, on

 information and belief, is actively engaged in the business of selling insurance both in

 Hillsborough County and throughout the state of Florida. Crum & Forster issued the




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 subject insurance policy to Rooms To Go at Rooms To Go’s principal address in Seffner,

 Florida.

        10.     Defendant, Everest Indemnity Insurance Company (“Everest”), is a

 Delaware corporation with its principal place of business in Liberty Corner, New Jersey.

 Everest is authorized to sell insurance in the state of Florida and, on information and belief,

 is actively engaged in the business of selling insurance both in Hillsborough County and

 throughout the state of Florida. Everest issued the subject insurance policy to Rooms To

 Go at Rooms To Go’s principal address in Seffner, Florida.

        11.     Defendant, Ironshore Specialty Insurance Company (“Ironshore”), is an

 Arizona corporation with its principal place of business in Boston, Massachusetts.

 Ironshore is authorized to sell insurance in the state of Florida and, on information and

 belief, is actively engaged in the business of selling insurance both in Hillsborough County

 and throughout the state of Florida. Ironshore issued the subject insurance policy to Rooms

 To Go at Rooms To Go’s principal address in Seffner, Florida.

        12.     Defendant, HDI Global Specialty SE (“HDI”), is a German corporation with

 its principal place of business in New York, New York. HDI is authorized to sell insurance

 in the state of Florida and, on information and belief, is actively engaged in the business of

 selling insurance both in Hillsborough County and throughout the state of Florida. HDI

 issued the subject insurance policy to Rooms To Go at Rooms To Go’s principal address

 in Seffner, Florida.

        13.     Defendant, Underwriters at Lloyd’s, London Subscribing to Policy No.

 LMPRP20928555 (“Hiscox”), is a British corporation with its principal place of business



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 in New York, New York. Hiscox is authorized to sell insurance in the state of Florida and,

 on information and belief, is actively engaged in the business of selling insurance both in

 Hillsborough County and throughout the state of Florida. Hiscox issued the subject

 insurance policy to Rooms To Go at Rooms To Go’s principal address in Seffner, Florida.

        14.     Defendant, PartnerRe Ireland Insurance dac (“PartnerRe”), is an Irish

 corporation with its principal place of business in Dublin, Ireland. PartnerRe is authorized

 to sell insurance in the state of Florida and, on information and belief, is actively engaged

 in the business of selling insurance both in Hillsborough County and throughout the state

 of Florida. PartnerRe issued the subject insurance policy to Rooms To Go at Rooms To

 Go’s principal address in Seffner, Florida.

        15.     Defendant, Starr Surplus Lines Insurance Company (“Starr”), is an Illinois

 corporation with its principal place of business in New York, New York.                Starr is

 authorized to sell insurance in the state of Florida and, on information and belief, is actively

 engaged in the business of selling insurance both in Hillsborough County and throughout

 the state of Florida. Starr issued the subject insurance policy to Rooms To Go at Rooms

 To Go’s principal address in Seffner, Florida.

        16.     Defendant, Evanston Insurance Company (“Evanston”), is an Illinois

 corporation with its principal place of business in Rosemont, Illinois.           Evanston is

 authorized to sell insurance in the state of Florida and, on information and belief, is actively

 engaged in the business of selling insurance both in Hillsborough County and throughout

 the state of Florida. Evanston issued the subject insurance policy to Rooms To Go at

 Rooms To Go’s principal address in Seffner, Florida.



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        17.     Defendant, Aspen Specialty Insurance Company (“Aspen”), is a North

 Dakota corporation with its principal place of business in Rocky Hill, Connecticut. Aspen

 is authorized to sell insurance in the state of Florida and, on information and belief, is

 actively engaged in the business of selling insurance both in Hillsborough County and

 throughout the state of Florida. Aspen issued the subject insurance policy to Rooms To

 Go at Rooms To Go’s principal address in Seffner, Florida.

        18.     Defendant, Landmark American Insurance Company (“Landmark”), is an

 Oklahoma corporation with its principal place of business in Atlanta, Georgia. Landmark

 is authorized to sell insurance in the state of Florida and, on information and belief, is

 actively engaged in the business of selling insurance both in Hillsborough County and

 throughout the state of Florida. Landmark issued the subject insurance policy to Rooms

 To Go at Rooms To Go’s principal address in Seffner, Florida.

        19.     Defendant, Maxum Indemnity Company (“Maxum”), is a Delaware

 corporation with its principal place of business in Alpharetta, Georgia.            Maxum is

 authorized to sell insurance in the state of Florida and, on information and belief, is actively

 engaged in the business of selling insurance both in Hillsborough County and throughout

 the state of Florida. Maxum issued the subject insurance policy to Rooms To Go at Rooms

 To Go’s principal address in Seffner, Florida.

        20.     Defendant, Homeland Insurance Company of New York (“Homeland”), is

 a New York corporation with its principal place of business in Plymouth, Minnesota.

 Homeland is authorized to sell insurance in the state of Florida and, on information and

 belief, is actively engaged in the business of selling insurance both in Hillsborough County



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 and throughout the state of Florida. Homeland issued the subject insurance policy to

 Rooms To Go at Rooms To Go’s principal address in Seffner, Florida.

                               JURISDICTION AND VENUE

         21.     This Court has subject matter jurisdiction over this action pursuant to 28

 U.S.C. § 1332, as the matter in controversy exceeds $75,000 exclusive of interest and costs,

 and complete diversity of citizenship exists.

         22.     This Court has personal jurisdiction over the Insurers because they: (1) are

 authorized insurers in the state of Florida, (2) generally transact business throughout the

 state of Florida, and (3) contracted to insure a Florida corporation with its principal place

 of business in this judicial district. In addition, the Insurers agreed in the insurance policies

 to submit to personal jurisdiction in any court in which Rooms To Go elected to file suit.

         23.     Venue is properly placed under 28 U.S.C. § 1391, as this is a diversity action

 in which a substantial part of the events or omissions giving rise to the claims and losses

 occurred in this judicial district.

                                 FACTUAL BACKGROUND

                        Rooms To Go and the Spread of COVID-19

         24.      Rooms To Go operates over 150 stores in Alabama, Florida, Georgia,

 Louisiana, Mississippi, North Carolina, South Carolina, Tennessee, Texas, and Virginia.

         25.     To protect its business in the event of property loss or damage and business

 interruption, Rooms To Go purchased commercial property insurance policies from the

 Insurers incepting on March 1, 2020 (collectively, the “Policies”). These Policies compose

 a single insurance tower, with multiple insurers but identical substantive policy terms.



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          26.     The Policies insure against all risks of direct physical loss of or damage to

 property, as well as business interruption and extra expense, unless specifically excluded

 or limited.

          27.     COVID-19 is an illness caused by the novel coronavirus, known as severe

 acute respiratory syndrome coronavirus 2 (SARS-CoV-2) (hereafter “coronavirus” or the

 “virus”).

          28.     As of this filing, approximately 7.2 million Americans have tested positive

 for COVID-19, countless more have been infected without confirmation, and roughly

 200,000 Americans have died from the illness. 1

          29.     The virus can be transmitted by infected individuals whether or not they are

 symptomatic.

          30.     Coronavirus is detectable on various types of surfaces for varying amounts

 of time.

          31.     The CDC has reported that a person can become infected with COVID-19

 by touching a surface or object that has the virus on it, and then touching their own mouth,

 nose, or eyes.

          32.     The presence of coronavirus particles on Rooms To Go’s physical property

 caused a loss of its usefulness and normal function.

          33.     The presence of coronavirus particles caused direct physical harm, direct

 physical damage, and/or direct physical loss to Rooms To Go’s property.




 1
     See https://coronavirus.jhu.edu/us-map (last viewed September 30, 2020).


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         34.    The presence of people infected with or carrying COVID-19 on Rooms To

 Go’s physical property caused a loss of its usefulness and normal function.

         35.    The presence of people infected with or carrying COVID-19 on Rooms To

 Go’s property caused direct physical harm, direct physical damage, and/or direct physical

 loss to Rooms To Go’s property.

                                 The Stay at Home Orders

         36.    In an effort to combat the virus and slow the spread of COVID-19, state and

 local governments imposed directives requiring residents to remain in their homes unless

 performing “essential” activities (“Stay at Home Orders”).

         37.    In many instances, the Stay at Home Orders required Rooms To Go stores

 to close.

         38.    These orders were issued because of the spread of COVID-19 and, in

 particular, the transmission of the virus through human contact with affected property.

         39.    The orders were also issued because of direct physical loss of or damage to

 property.

         40.    By way of example, Rooms To Go has several stores located in Broward

 County, Florida. That county recognized that coronavirus causes physical injury or

 damage to property: The Stay at Home Orders are “necessary because of the propensity of

 [COVID-19] to spread person to person and also because the virus is physically causing

 property damage due to its proclivity to attach to surfaces for prolonged periods of time.” 2



 2
  See March 22, 2020, Broward County Administrator’s Emergency Order 20-01; March
 26, 2020, Broward County Administrator’s Emergency Order 20-03.


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          41.    Indeed, state and local governmental authorities and public health officials

   around the United States have acknowledged that coronavirus, COVID-19, and the

   pandemic cause direct physical loss and damage to property. For example:

                 a.       The City of Miami issued orders stating that “[t]here is reason to

                 believe that there exists a clear and present danger of substantial injury to

                 health, safety, and welfare of persons or to property, all of which constitute

                 an imminent threat to public peace and order and to the general welfare of

                 this City . . .” 3

                 b.       The State of Colorado issued an order indicating that “COVID-19 .

                 . . physically contributes to property loss, contamination and damage . . . ”

                 c.       The City of New York issued an order in response to coronavirus

                 and the pandemic, in part “because the virus physically is causing property

                 loss and damage.”

                 d.       The State of Washington issued a proclamation stating that the

                 “COVID-19 pandemic and its progression . . . remains a public disaster

                 affecting life, health [and] property.”

                 e.       The State of Indiana issued an order recognizing that coronavirus

                 has the “propensity to physically impact surfaces and personal property.”




   3
    See March 12, 2020, City of Miami Notice of Emergency Measures; March 19, 2020,
   City of Miami Notice of Order No. 20-03, Declaration of Local Emergency Measures;
   March 24, 2020, City of Miami Notice of Order No. 20-04, Declaration of Local
   Emergency Measures; June 25, 2020, City of Miami Notice of Order No. 20-16,
   Declaration of Local Emergency Measures.


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                 f.      The City of New Orleans issued an order stating “there is reason to

                 believe that COVID-19 may spread amongst the population by various

                 means of exposure, including the propensity to attach to surfaces for a

                 prolonged period of time, thereby spreading from surface to person and

                 causing property loss and damage in certain circumstances.”

                 g.      The State of North Carolina issued an order in response to the

                 pandemic not only “to assure adequate protection for lives” but also to

                 “assure adequate protection of . . . property.”

                 h.      The City of Los Angeles issued an order “because, among other

                 reasons, the COVID-19 virus can spread easily from person to person and

                 it is physically causing property loss or damage due to its tendency to attach

                 to surfaces for prolonged periods of time.”

          42.    Civil authorities issued orders in every state where Rooms To Go operates

   stores, and many orders operated to prohibit access to Rooms To Go’s stores and/or

   prohibit customers from patronizing the business.

          43.    Certain Stay at Home Orders explicitly stated that furniture stores were not

   essential businesses, which required Rooms To Go to close stores in those locations.

          44.    Furniture stores did not meet the criteria for an “essential business” under

   other Stay at Home Orders, which also required Rooms To Go to close stores in those

   locations.




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          45.     The Stay at Home Orders resulted in direct physical loss of or damage to

   Rooms To Go’s premises and property by denying use of and access to, and damaging, the

   covered property, and by causing a necessary suspension of operations.

          46.     Even where Rooms To Go was permitted to operate, its business volume

   and practices were impacted by this direct physical loss of or damage to property. For

   example, Rooms To Go had to limit the number of customers in some stores, purchase

   more sanitization products, reduce operational hours, and provide personal protective

   equipment to employees and customers.

          47.     The Stay at Home Orders caused a total or partial prohibition of access to

   Rooms To Go’s stores. The Stay at Home Orders caused direct physical loss of or damage

   to property.

          48.     The Stay at Home Orders caused the necessary partial or total interruption

   of Rooms To Go’s business operations.

          49.     The Stay at Home Orders caused direct physical loss or damage by denying

   use of and damaging Rooms To Go’s property, thereby causing a suspension or significant

   decrease in operations and prohibiting access to premises.

          50.     The direct physical loss or damage caused by coronavirus and the Stay at

   Home Orders had an adverse effect on Rooms To Go’s business.

                     The “All Risks” Insurance Policies are Triggered

          51.     To protect its business in the event of property loss and business

   interruption, Rooms To Go purchased a tower of “manuscript” commercial property




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   insurance policies from the Insurers covering the Policy Period from March 1, 2020

   through March 1, 2021.

          52.       A “manuscript” policy is an insurance policy that is specifically tailored to

   and designed for an insured’s business. The policies may be organized into a “tower” that

   includes a number of insurers who agree to share the insured’s risk. Even though each

   insurer issues its own policy, the substantive provisions of each policy are identical. 4

          53.       Rooms To Go’s manuscript insurance policy is an “all risks” policy,

   meaning that it provides coverage for all risks unless a certain risk is explicitly excluded.

          54.       Rooms To Go’s tower of insurance comprises fourteen policies. The

   policies are organized in layers and each layer provides a defined limit of liability. Further,

   each insurer in that layer is responsible for a certain percentage of the limit. The layers

   and policies are organized as follows:

                              Insurer                               Policy No.

                                            First Layer

            Hallmark Specialty Insurance Company                  73PRX20A4D8

                Crum & Forster Specialty Insurance                  PPP-910725
                           Company

            Ironshore Specialty Insurance Company                 1000383283-01

                     HDI Global Specialty SE                        PN306430o

            Everest Indemnity Insurance Company                 CA3X001302-201


   4
    While each of Rooms To Go’s insurers issued separate policies with different
   endorsements, the substantive terms of the manuscript policy that contains the relevant
   coverages are the same. A copy of the policy issued by Hallmark Specialty Insurance
   Company – which reflects the manuscript form – is attached as Exhibit 1.


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                                           Second Layer

          Underwriters at Lloyd’s, London (Hiscox)            LMPRP20928555

           Starr Surplus Lines Insurance Company             20SLCFM11077401

                PartnerRe Ireland Insurance dac                  PN311040o

            Everest Indemnity Insurance Company               CA3X001302-201


                                           Third Layer

                 Evanston Insurance Company                  MKLV11XP007922

             Aspen Specialty Insurance Company                  PX00AUD20

           Landmark American Insurance Company                   LHD911888

                       PartnerRe Ireland                         PN311040o
                         Insurance dac


                                           Fourth Layer

                 Maxum Indemnity Company                      MSP-6032580-03

            Homeland Insurance Company of New                    795011852
                           York



          55.     Section 21 of the policies sold by the Insurers is entitled “Perils Insured

   Against.” It provides: “This Policy insures against all risks of direct physical loss of or

   damage to property described herein including general average, salvage, and all other




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   charges on shipments covered hereunder; except as hereafter excluded.” Policy, § 21

   (emphasis added). 5

          56.     COVID-19, a highly contagious disease for which there is no known

   vaccine, is a peril not excluded under the Policies and therefore constitutes a covered peril.

          57.     The Stay at Home Orders are a peril not excluded under the Policies, and

   therefore constitute a covered peril.

          58.     The Policies expressly cover physical “loss” or “damage.” This necessarily

   means that either a “loss” or “damage” is required, and that “loss” is distinct from

   “damage.”

          59.     While “physical loss” and “physical damage” are not defined by the

   Policies, the plain and ordinary meaning of “physical” means “having material existence:

   perceptible especially through the senses and subject to the laws of nature.” 6 Further,

   “loss” encompasses “the act of losing possession” and “deprivation.” 7

          60.     Coronavirus is a physical substance that can be active on inert physical

   surfaces, and may also be present in the air.

          61.     Coronavirus attached to and deprived Rooms To Go of its property by

   making it unusable, resulting in direct physical loss to its premises and property.




   5
     Because the Policies are substantively identical, citations to the “Policy” refer to any
   and all policies at issue in this litigation.
   6
     Merriam-Webster, www.merriam-webster.com/dictionary/physical (last visited
   September 11, 2020).
   7
     Merriam-Webster, www.merriam-webster.com/dictionary/loss (last visited September
   11, 2020).


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          62.     Rooms To Go has accordingly suffered “direct physical loss” of property

   from coronavirus and the Stay at Home Orders.

          63.     Rooms To Go also suffered “direct physical . . . damage to property”

   because of coronavirus. Coronavirus causes physical damage to property because it is

   physically present on and attaches to objects and surfaces as described above.

          64.     Indeed, Rooms To Go was forced to close certain stores upon learning that

   employees or customers who had visited the store tested positive for, or were displaying

   symptoms of, COVID-19.

          65.     The ubiquitous nature of the pandemic further confirms that coronavirus

   and COVID-19 were present in Rooms To Go’s stores.

          66.     Indeed, the transmissibility of COVID-19 from people and objects is a

   primary consideration underlying the Stay at Home Orders.

          67.     Rooms To Go has therefore suffered “direct physical loss of [and] damage

   to” its property from a covered peril commencing in March 2020. There is a direct causal

   relationship between coronavirus and the loss.

          68.     Rooms To Go’s losses and damages are covered under multiple sections of

   the Policies, including those addressing (1) Business Interruption, (2) Extra Expense,

   (3) Contingent Business Interruption, (4) Civil Authority, (5) Ingress/Egress, and (6) Loss

   Adjustment Expenses.

   A.     Business Interruption Coverage

          69.     Section 10 of the Policies provides coverage for Business Interruption:

   “This Policy shall cover the loss resulting from necessary interruption of business



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   conducted by the Insured including all interdependent loss of earnings between or among

   companies owned or operated by the Insured caused by loss, damage, or destruction by any

   of the perils covered herein during the term of this policy to real and personal property as

   covered herein.” Policy, § 10(a).

           70.     Coronavirus and the Stay at Home Orders are “perils covered” by the

   Policies because they are or present “risks of direct physical loss of or damage to property

   described” in the Policies.

           71.     The Policies further provide that “[i]n the event of such loss, damage or

   destruction this Company shall be liable for the ACTUAL LOSS SUSTAINED by the

   Insured resulting directly from such interruption of business . . .” Policy, § 10(a)(i).

           72.     Rooms To Go’s business operations were interrupted in March 2020 as a

   result of a peril covered by the Policies. Rooms to Go’s losses resulted from the necessary

   interruption of its business.

           73.     Rooms To Go has sustained loss of business income and other insured

   losses as a result of the partial or total interruption of its business.

   B.      Extra Expense Coverage

           74.     Section 11 of the Policies provides coverage for Extra Expense: “The policy

   shall cover the necessary extra expense, as hereinafter defined, incurred by the Insured

   caused by loss, damage, or destruction by any of the perils covered herein during the term

   of this policy to real and personal property as covered herein.” Policy § 11.

           75.     The Policies also provide coverage for the “expenses as are necessarily

   incurred for the purpose of reducing any loss under this policy . . .” Policy, § 11.



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           76.     “Extra Expense” is “the excess (if any) of the total cost(s) incurred during

   the period of restoration, chargeable to the operation of the Insured’s business, over and

   above the total cost(s) that would have normally been incurred to conduct the business

   during the same period had no loss or damage occurred.” Policy, § 11(a).

           77.     Rooms To Go incurred substantial Extra Expense beginning in March 2020

   as a result of a peril covered by the Policies.

           78.     Rooms To Go has incurred covered Extra Expense as a result of the partial

   or total interruption of its business.

   C.      Contingent Business Interruption Coverage

           79.     Section 17 of the Policies insures against losses due to contingent business

   interruption: “This Policy . . . insures against loss resulting from damage to or destruction

   by the perils insured against, to . . . [p]roperty that directly or indirectly prevents a supplier

   . . . of goods and/or services to the Insured from rendering their goods and/or services, or

   property that prevents a receiver . . . of goods and/or services from receiving the Insured’s

   goods and/or services; such supplier or receiver shall not be an Insured under this Policy.”

   Policy, § 17(b).

           80.     Rooms To Go’s suppliers and customers have also suffered loss due to a

   covered peril that prevented suppliers from supplying their goods and/or services to Rooms

   To Go and customers from accepting Rooms To Go’s goods and/or services.

           81.     Rooms To Go has sustained loss of business income, incurred extra

   expense, and sustained other insured losses resulting from Rooms To Go’s suppliers’




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   inability to supply their goods and services, and customers’ inability to accept Rooms To

   Go’s goods and services.

   D.     Civil Authority Coverage

          82.     Section 17 of the Policies insures against losses due to the actions of a civil

   authority, specifically “[t]he actual loss sustained during a period not to exceed sixty (60)

   consecutive days when, as a result of a peril insured against, access to real or personal

   property is prohibited by order of civil or military authority.” Policy, § 17(d).

          83.     Beginning in March 2020, the Stay at Home Orders prohibited access to

   Rooms To Go’s property.

          84.     The Stay at Home Orders constituted orders by a civil authority.

          85.     Rooms To Go has lost business income and incurred extra expense because

   of Stay at Home Orders that prohibited access to their stores, which are the result of a peril

   insured against under the Policies.

          86.     Alternatively, the Stay at Home Orders themselves are a covered peril under

   the Policies whether or not they were issued in response to coronavirus or some other

   “direct physical loss or damage.”

          87.     Rooms To Go has sustained losses due to the Stay at Home Orders.

   E.     Ingress/Egress Coverage

          88.     Section 17 insures against losses due to hindered ingress or egress to

   property, specifically “[t]he actual loss sustained during a period not to exceed sixty (60)

   consecutive days when, as a result of a peril insured against, ingress to or egress from real




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   or personal property is thereby prevented or hindered irrespective of whether the property

   of the Insured shall have been damaged.” Policy § 17(e).

          89.     Rooms To Go has lost business income and incurred extra expense because

   ingress or egress to its property was prevented or hindered as a result of a peril insured

   against under the Policies. Coronavirus and the Stay at Home Orders prevented or hindered

   ingress to and egress from Rooms To Go’s property.

   F.     Loss Adjustment Expenses

          90.     Section 44 of the Policies provides coverage for Loss Adjustment Expenses:

   “This policy is extended to include expenses incurred by the Insured, or by the Insured’s

   representatives for preparing and certifying details of a claim resulting from a loss which

   would be payable under this policy. These expenses include fees of professionals engaged

   to assist the Insured in determining the cause and origin of the loss, the amount of loss

   sustained, and the amount of loss payable under this policy. This policy shall not cover the

   expenses of a public adjuster and cost of attorneys.”

          91.     Rooms To Go has incurred and will incur expenses in connection with

   calculating and determining the amount payable under the Policies and the presentation of

   Rooms To Go’s claim to the Insurers.

          92.     These expenses are covered under the Policies’ Loss Adjustment Expenses

   coverage section.

        At Worst, “Direct Physical Loss . . . or Damage” is Ambiguous, Triggering
                                       Coverage

          93.     Rooms To Go’s Insurers have refused to acknowledge that coronavirus

   constitutes “direct physical loss of or damage to property.”


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          94.       Notwithstanding this refusal, at least one federal court has already

   concluded that coronavirus meets this requirement and is sufficient to trigger coverage for

   the associated business interruption for which Rooms To Go now seeks to recover. See

   Studio 417, Inc. v. The Cincinnati Ins. Co., No. 20-cv-03127-SRB, 2020 WL 4692385

   (W.D. Mo. Aug. 12, 2020).

          95.       The Studio 417 court specifically found that coronavirus, as a physical

   substance that can attach to and deprive a policyholder of its property by making it

   unusable, may constitute a “direct physical loss” based on the plain and ordinary meaning

   of the phrase.

          96.       The court’s holding in Studio 417 establishes that a reasonable reading of

   the phrase “direct physical loss” encompasses the risk of loss caused by coronavirus.

          97.       Even if the Insurers maintain that the opposite conclusion is also a

   reasonable interpretation, this Court is bound to adopt the interpretation that results in

   coverage for the policyholder.

          98.       Under Florida law, policy language is considered ambiguous if it is

   susceptible of two or more reasonable interpretations.

          99.       Ambiguities are automatically construed in favor of the insured.

          100.      The court’s holding in Studio 417 is prima facie evidence that Rooms To

   Go’s interpretation of the policy language is reasonable, which requires a finding of

   coverage regardless of any alternative interpretation proffered by the Insurers.




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                            No Exclusions Apply to Bar Coverage

          101.    The Insurers issued “All Risk” insurance policies, meaning it was

   incumbent on the Insurers to clearly, unambiguously, and expressly exclude any peril that

   is not covered under the Policies.

          102.    Rooms To Go purchased these Policies in March 2020 at a time when

   coronavirus was actively spreading around the world. As early as January 30, 2020, the

   World Health Organization declared the coronavirus outbreak a public health emergency

   of international concern. Despite being well aware of the virus and disease, and their

   effects, the Insurers did not exclude this peril from Rooms To Go’s coverage.

          103.    The presence of virus or disease can constitute physical loss of or damage

   to property, as the insurance industry has recognized since at least 2006. During that year,

   the Insurance Services Office (“ISO”), an insurance industry organization that develops

   standardized policy forms for use by insurers, drafted a specific form exclusion for losses

   “due to disease-causing agents such as viruses and bacteria.” When preparing so-called

   “virus” exclusions to be placed in some policies, ISO presented the exclusion to state

   insurance regulators around the country with the following explanation:

                  Disease-causing agents may render a product impure (change its
                  quality or substance) or enable the spread of disease by their
                  presence on interior building surfaces or the surfaces of personal
                  property. When disease-causing viral or bacterial contamination
                  occurs, potential claims involve the cost of replacement of property
                  (for example, the milk), cost of decontamination (for example,
                  interior building surfaces), and business interruption (time element)
                  losses. Although building and personal property could arguably
                  become contaminated (often temporarily) by such viruses and
                  bacteria, the nature of the property itself would have a bearing on




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                   whether there is actual property damage. An allegation of property
                   damage may be a point of disagreement in a particular case. 8

            104.   ISO also created a new and specific “amendatory endorsement” to exclude

   loss due to virus or bacteria from coverage afforded by certain insurance policies. The ISO

   amendatory endorsement states that there is “no coverage for loss or damage caused by or

   resulting from any virus, bacterium or other microorganism that induces or is capable of

   inducing physical distress, illness or disease” (the “Virus Exclusion”).

            105.   Even though the Policies contain other ISO forms, the Insurers did not add

   the ISO’s specific Virus Exclusion or amendatory endorsement to Rooms To Go’s Policies.

            106.   As an alternative to ISO’s Virus Exclusion, some insurers have included

   manuscript amendatory endorsements in their policies to expressly exclude coverage for

   loss or damage resulting from COVID-19 or SARS-CoV-2. Once again, the Insurers did

   not add such an exclusion to Rooms To Go’s Policies.

            107.   The Policies similarly do not contain a specific pandemic exclusion even

   though the Insurers could have included such an exclusion in the Policies.

            108.   Due to the existence and globally visible impact of coronavirus and

   COVID-19 at the time the Insurers issued these Policies, the Insurers had the opportunity

   to clearly, unambiguously, and expressly exclude coverage for the present losses through

   standard insurance industry forms or manuscript language. They chose not to do so.




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       ISO Circular, July 6, 2006, LI-CF-2006-175.


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          109.    Instead, the Policies simply contain a common Pollution and Contamination

   Exclusion that is directed at risks distinct from the physical loss and damage at issue (the

   “Pollution Exclusion”).

          110.    The Pollution Exclusion here is a traditional environmental pollution

   exclusion that requires “the actual, alleged or threatened release, discharge, escape or

   dispersal of Contaminants or Pollutants.” The presence of coronavirus at any Rooms To

   Go properties was not the result of any “release, discharge, escape or dispersal,” thereby

   rendering the exclusion inapplicable in the first instance.

          111.    Further, the definition of Pollutants or Contaminants that is incorporated

   into the exclusion is expressly limited to substances that are “release[d].” Coronavirus is

   a pandemic that is ubiquitous and globally present; it was not “release[d]” onto Rooms To

   Go’s properties as that term is plainly and ordinarily understood.

          112.    Finally, the Pollution Exclusion contains an express exception that states:

   “This exclusion shall not apply when loss or damage is directly caused by a covered peril

   not otherwise excluded.” Because coronavirus is a covered peril that (1) has directly

   caused physical loss or damage to Rooms To Go’s property, and (2) is not otherwise

   excluded by any other provision in the Policies, it would be subject to the Pollution

   Exclusion’s exception even if the exclusion otherwise applied.

          113.    None of the other exclusions cited by the Insurers operates to bar coverage.

   These exclusions are entirely unrelated to coronavirus, COVID-19, or the pandemic, and

   were not included or intended to address the risk(s) for which Rooms To Go now seeks

   coverage.



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            114.    Indeed, this judicial district has recognized that it would be inappropriate to

   deny coverage for losses stemming from COVID-19 when insurers attempt to shoehorn

   such losses into exclusions that are not intended for these circumstances. Urogynecology

   Specialist of Fla. LLC v. Sentinel Ins. Co., Ltd., No. 6:20-cv-0117 (M.D. Fla. Sept. 24,

   2020).

            115.    Neither the Pollution Exclusion nor any other exclusion in the Policies

   applies to Rooms To Go’s insurance claim.

                   The Insurers’ Failure or Refusal to Acknowledge Coverage

            116.    In early April 2020, shortly after Rooms To Go began incurring covered

   losses, it promptly provided notice to the Insurers and made a claim under the Policies.

            117.    A single adjuster has been appointed to handle Rooms To Go’s claim, and

   is responsible for communicating a single, uniform, collective coverage position on behalf

   of all the Insurers.

            118.    On June 10, 2020, Rooms To Go received a single reservation of rights letter

   directly from one insurer (Hallmark), which spoke only for itself and not for all Insurers in

   the tower.

            119.    For nearly six months after Rooms To Go first reported its claim, the

   adjuster and the Insurers failed or refused to collectively reserve their rights, communicate

   a coverage position, take any action regarding the claim, or acknowledge coverage under

   the Policies.




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          120.     Finally, on September 25, 2020, the adjuster sent Rooms To Go a

   reservation of rights letter on behalf of the Insurers, who collectively refused to

   acknowledge any coverage obligation under their Policies.

          121.     The Insurers are well-apprised of the business interruption caused by

   coronavirus and COVID-19 and, upon information and belief, have collectively refused to

   acknowledge coverage for any such claims arising from the pandemic.

          122.     The Insurers’ failure or refusal to acknowledge coverage or make any

   payment under the Policies constitutes a breach of contract for which Rooms To Go has

   been damaged.

                          Compliance with All Conditions Precedent

          123.     Room To Go has satisfied all the applicable terms, conditions, and other

   requirements of the Policies.        Alternatively, compliance with the applicable terms,

   conditions, and other requirements in whole or in part has been waived, excused, or is

   unnecessary for other reasons.

                                        Retention of Counsel

          124.     Rooms To Go has retained the law firms of Hunton Andrews Kurth LLP

   and Bondurant Mixson & Elmore LLP to represent Rooms To Go in this action and has

   agreed to pay reasonable attorneys’ fees, plus all expenses incurred, for their services.


                          COUNT I – BREACH OF CONTRACT
                    (Business Interruption and Extra Expense Coverage)

          125.     Rooms To Go repeats and re-alleges the allegations in the preceding

   paragraphs as if set forth herein.



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          126.     The Policies are valid and enforceable contracts between Rooms To Go and

   the Insurers.

          127.     In the Policies, the Insurers promised to pay for losses of business income

   and extra expense incurred as a result of covered losses.

          128.     Coronavirus and the Stay at Home Orders have caused direct physical loss

   of or damage to Rooms To Go’s property and the property of those upon whom Rooms To

   Go relies.

          129.     Because of the direct physical loss of or damage to property, Rooms To Go

   experienced a slowdown or cessation of its business.

          130.     These slowdowns and cessations trigger the Policies’ Business Interruption

   and Extra Expense Coverages.

          131.     Rooms To Go has complied with all applicable provisions in the Policies.

          132.     Nonetheless, the Insurers have, in breach of the Policies, refused to pay for

   Rooms To Go’s losses and expenses. Defendants have breached Sections 10, 11 and 21 of

   the Policies, among other provisions.

          133.     Rooms To Go has suffered damages as a result of the Insurers’ breaches of

   their respective Policies.

          134.     As a direct, proximate, and natural result of the Insurers’ breaches, Rooms

   To Go has been deprived of the benefits due under the Policies.

          WHEREFORE, Plaintiff Rooms To Go demands judgment against the Defendants

   for damages, pre- and post-judgment interest, attorneys’ fees pursuant to Fla. Stat.

   § 627.428, costs, and any further relief this Court deems equitable, just and proper.



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                           COUNT II – BREACH OF CONTRACT
                         (Contingent Business Interruption Coverage)

          135.     Rooms To Go repeats and re-alleges the allegations in the preceding

   paragraphs as if set forth herein.

          136.     The Policies are valid and enforceable contracts between Rooms To Go and

   the Insurers.

          137.     In the Policies, the Insurers extended the time element coverage and

   promised to pay for losses of business income and extra expense incurred as a result of an

   insured peril that directly or indirectly prevents a supplier of goods and/or services from

   rendering those goods and/or services to Rooms To Go.

          138.     In the Policies, the Insurers extended the time element coverage and

   promised to pay for losses of business income and extra expense incurred as a result of an

   insured peril that directly or indirectly prevents a receiver of goods and/or services from

   receiving those goods and/or services from Rooms To Go.

          139.     Coronavirus and the Stay at Home Orders have caused loss of or damage to

   property that directly or indirectly prevented Rooms To Go’s suppliers from rendering their

   goods and/or services to Rooms To Go.

          140.     Coronavirus and the Stay at Home Orders have caused direct physical loss

   of or damage to property that directly or indirectly prevented Rooms To Go’s receivers of

   goods and/or services from receiving goods and/or services from Rooms To Go.

          141.     Because of this direct physical loss of or damage to property due to an

   insured peril, Rooms To Go experienced a slowdown or cessation of its business.




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          142.     These slowdowns or cessations trigger the Policies’ extended time element

   coverage for contingent business interruption.

          143.     Rooms To Go has complied with all applicable provisions in the Policies.

          144.     Nonetheless, the Insurers have, in breach of the Policies, refused to pay for

   Rooms To Go’s losses and expenses in breach of the Policies. Defendants have breached

   Section 17(b) of the Policies, among other provisions.

          145.     Rooms To Go has suffered damages as a result of the Insurers’ breaches of

   their respective Policies.

          146.     As a direct, proximate, and natural result of the Insurers’ breaches, Rooms

   To Go has been deprived of the benefits due under the Policies.

          WHEREFORE, Plaintiff Rooms To Go demands judgment against the Defendants

   for damages, pre- and post-judgment interest, attorneys’ fees pursuant to Fla. Stat.

   § 627.428, costs, and any further relief this Court deems equitable, just and proper.

                          COUNT III – BREACH OF CONTRACT
                              (Civil Authority Coverage)

          147.     Rooms To Go repeats and re-alleges the allegations in the preceding

   paragraphs as if set forth herein.

          148.     The Policies are valid and enforceable contracts between Rooms To Go and

   the Insurers.

          149.     In the Policies, the Insurers extended the time element coverage and

   promised to pay for losses of business income and extra expense incurred as a result of

   civil authority orders that prohibit access to Rooms To Go’s premises.




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          150.     Rooms To Go has experienced a loss under the Policies’ civil authority

   coverage arising from coronavirus and the Stay at Home Orders.

          151.     These actions, losses, and expenses triggered civil authority coverage under

   the Policies.

          152.     Rooms To Go has complied with all applicable provisions in the Policies.

          153.     Nonetheless, the Insurers have, in breach of the Policies, refused to pay for

   Rooms To Go’s losses and expenses in breach of the Policies. Defendants have breached

   Section 17(d) of the Policies, among other provisions.

          154.     Rooms To Go has suffered damages as a result of the Insurers’ breaches of

   their respective Policies.

          155.     As a direct, proximate, and natural result of the Insurers’ breaches, Rooms

   To Go has been deprived of the benefits due under the Policies.

          WHEREFORE, Plaintiff Rooms To Go demands judgment against the Defendants

   for damages, pre- and post-judgment interest, attorneys’ fees pursuant to Fla. Stat.

   § 627.428, costs, and any further relief this Court deems equitable, just and proper.

                           COUNT IV – BREACH OF CONTRACT
                                (Ingress/Egress Coverage)

          156.     Rooms To Go repeats and re-alleges the allegations in the preceding

   paragraphs as if set forth herein.

          157.     The Policies are valid and enforceable contracts between Rooms To Go and

   the Insurers.




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          158.    In the Policies, the Insurers extended the time element coverage and

   promised to pay for losses of business income and extra expense when, as a result of an

   insured peril, ingress to or egress from real or personal property is prevented or hindered.

          159.    Rooms To Go has experienced a loss under the Policies’ ingress/egress

   coverage arising from coronavirus and the Stay at Home Orders.

          160.    These actions, losses, and expenses triggered the ingress/egress coverage

   under the Policies.

          161.    Rooms To Go has complied with all applicable provisions in the Policies.

          162.    Nonetheless, the Insurers have, in breach of the Policies, refused to pay for

   Rooms To Go’s losses and expenses in breach of the Policies. Defendants have breached

   Section 17(e) of the Policies, among other provisions.

          163.    Rooms To Go has suffered damages as a result of the Insurers’ breaches of

   their respective Policies.

          164.    As a direct, proximate, and natural result of the Insurers’ breaches, Rooms

   To Go has been deprived of the benefits due under the Policies.

          WHEREFORE, Plaintiff Rooms To Go demands judgment against the Defendants

   for damages, pre- and post-judgment interest, attorneys’ fees pursuant to Fla. Stat.

   § 627.428, costs, and any further relief this Court deems equitable, just and proper.

                            COUNT V– BREACH OF CONTRACT
                             (Loss Adjustment Expenses Coverage)

          165.    Rooms To Go repeats and re-alleges the allegations in the preceding

   paragraphs as if fully set forth herein.




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          166.     The Policies are valid and enforceable contracts between Rooms To Go and

   the Insurers.

          167.     In the Policies, the Insurers promised to pay for Rooms To Go’s loss

   adjustment expenses for preparing and certifying details of a claim resulting from a loss

   that is payable under the Policies.

          168.     Rooms To Go has experienced a covered loss under the Policies, and Rooms

   To Go has incurred and/or will incur expenses in connection with calculating and

   determining the amount payable under the Policies and the presentation of Rooms To Go’s

   claim to the Insurers.

          169.     These expenses trigger the Loss Adjustment Expenses coverage under the

   Policies.

          170.     Rooms To Go has complied with all applicable provisions in the Policies.

          171.     Nonetheless, the Insurers have, in breach of the Policies, refused to pay for

   Rooms To Go’s losses and expenses in breach of the Policies. Defendants have breached

   Section 44 of the Policies, among other provisions.

          172.     Rooms To Go has suffered damages as a result of the Insurers’ breaches of

   their respective Policies.

          173.     As a direct, proximate, and natural result of the Insurers’ breaches, Rooms

   To Go has been deprived of the benefits due under the Policies.

          WHEREFORE, Plaintiff Rooms To Go demands judgment against the Defendants

   for damages, pre- and post-judgment interest, attorneys’ fees pursuant to Fla. Stat.

   § 627.428, costs, and any further relief this Court deems equitable, just and proper.



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                         COUNT VI – DECLARATORY JUDGMENT

             174.   Rooms To Go repeats and re-alleges the allegations in the preceding

   paragraphs as if fully set forth herein.

             175.   Rooms To Go seeks the Court’s declaration of the parties’ rights and duties

   under the Policies pursuant to 28 U.S.C. § 2201.

             176.   A justiciable controversy exists between Rooms To Go and the Insurers

   about whether the Policies provide coverage for Rooms To Go’s claim.

             177.   The controversy between Rooms To Go and the Insurers is ripe for judicial

   review.

             178.   Accordingly, Rooms To Go seeks a declaration from the Court that:

                    a.     The various coverage provisions identified above are triggered by
                           Rooms To Go’s claim; and

                    b.     No exclusion applies to bar or limit coverage for Rooms To Go’s
                           claim.

             WHEREFORE, Plaintiff Rooms To Go demands judgment against the Defendants

   for damages, pre- and post-judgment interest, attorneys’ fees pursuant to Fla. Stat.

   § 627.428, costs, and any further relief this Court deems equitable, just and proper.

                                         JURY DEMAND

             Rooms To Go hereby demands trial by jury.




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    Dated: October 2, 2020          HUNTON ANDREWS KURTH LLP

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